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 Case18-50604
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                              05/29/18
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 Case18-50604
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 Case18-50604
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 Case18-50604
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 Case18-50604
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 1     Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
       Kristin A. Zilberstein (SBN 200041)
 2     Jennifer R. Bergh, Esq. (SBN 305219)
 3     LAW OFFICES OF MICHELLE GHIDOTTI
       1920 Old Tustin Ave.
 4     Santa Ana, CA 92705
       Ph: (949) 427-2010
 5     Fax: (949) 427-2732
 6     mghidotti@ghidottilaw.com

 7     Attorney for Creditor
       Aspen G LLC
 8
 9
                                 UNITED STATES BANKRUPTCY COURT
10
                     NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
11
12     In Re:                                               )   CASE NO.: 18-50604
                                                            )
13     Richard John Rivera, Jr.,                            )   CHAPTER 13
                                                            )
14
                Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                          )
                                                            )
16                                                          )
                                                            )
17
                                                            )
18                                                          )
                                                            )
19                                                          )
20
21                                      CERTIFICATE OF SERVICE
22
                I am employed in the County of Orange, State of California. I am over the age of
23
24     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

25     Santa Ana, CA 92705.
26              I am readily familiar with the business’s practice for collection and processing of
27
       correspondence for mailing with the United States Postal Service; such correspondence would
28
       be deposited with the United States Postal Service the same day of deposit in the ordinary

       course of business.
                                                        1
     Case:
      Case18-50604
           18-50604 Doc#
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                                                                        Page 28
                                                                              Page
                                                                                of 2928
                                          of 29
 1     On May 29, 2018 I served the following documents described as:
 2                   PROOF OF CLAIM
 3
       on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
       envelope addressed as follows:
 5
 6     (Via United States Mail)
       Debtor                                               Chapter 13 Trustee
 7     Richard John Rivera, Jr.                             Devin Derham-Burk
       140 College Rd.                                      P.O. Box 50013
 8
       Watsonville, CA 95076                                San Jose, CA 95150-0013
 9
       Joint Debtor                                         U.S. Trustee
10     Julie Gonzales-Rivera                                Office of the U.S. Trustee / SJ
11     140 College Rd.                                      U.S. Federal Bldg.
       Watsonville, CA 95076                                280 S 1st St. #268
12                                                          San Jose, CA 95113-3004
       Debtor’s Counsel
13     Paul Seabrook
14     Seabrook Law Offices
       2055 Junction Ave. #138
15     San Jose, CA 95131
16     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17     the United States Postal Service by placing them for collection and mailing on that date
       following ordinary business practices.
18
       ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19     Eastern District of California
20
       __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21     America that the foregoing is true and correct.
22
              Executed on May 29, 2018 at Santa Ana, California
23
       /s / Jeremy Romero
24     Jeremy Romero
25
26
27
28




                                                        2
     Case:
      Case18-50604
           18-50604 Doc#
                     Claim44-3
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                                                   SERVICE 07/16/18 13:39:59
                                                                        Page 29
                                                                              Page
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                                          of 29
